Case 20-02804-jw   Doc 195   Filed 07/28/21 Entered 07/28/21 11:44:17   Desc Main
                             Document      Page 1 of 6
Case 20-02804-jw   Doc 195   Filed 07/28/21 Entered 07/28/21 11:44:17   Desc Main
                             Document      Page 2 of 6
Case 20-02804-jw   Doc 195   Filed 07/28/21 Entered 07/28/21 11:44:17   Desc Main
                             Document      Page 3 of 6
Case 20-02804-jw   Doc 195   Filed 07/28/21 Entered 07/28/21 11:44:17   Desc Main
                             Document      Page 4 of 6
Case 20-02804-jw   Doc 195   Filed 07/28/21 Entered 07/28/21 11:44:17   Desc Main
                             Document      Page 5 of 6
Case 20-02804-jw   Doc 195   Filed 07/28/21 Entered 07/28/21 11:44:17   Desc Main
                             Document      Page 6 of 6
